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EXHIBIT A
TO
DOORAGE’S MOTION FOR
INJUNCTIVE RELIEF
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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
DOORAGE, INC., )
}
Plaintiff, )
) Case No.: 1:20-cv-421
v. )
)
BLUE CRATES, LLC, )
}
Defendant. )

 

DEFENDANT BLUE CRATES, LLC’S ANSWERS TO PLAINTIFF'S
FIRST SET OF INTERROGATORIES

 

Defendant Blue Crates, LLC, by and through its attorneys, Maron Marvel Bradley

Anderson & Tardy, LLC, hereby answers Plaintiff's First Set of Interrogatories as follows:

Interrogatory 1:

State the full name of any and all individuals who have an ownership interest in Blue
Crates, LLC, the amount of interest in Blue Crates held by each owner, and the date when
each owner acquired interest in Blue Crates.

ANSWER: _ See the produced Capitalization Table for Blue Crates, LLC, attached as

BC 016.
Interrogatory 2:

State the amount of total gross revenue of Blue Crates separately for each year beginning
January 1, 2015 through present.

ANSWER: 2015: $8,753
2016: $16,093
2017: $46,131
2018: $21,824
2019: $44,483

Interrogatory 3:
State the amount of Blue Crates’ claimed tax deduction for advertising costs for each year

beginning January 1, 2015 to present as reported to the Internal Revenue Service. If Blue
Crates has not filed a tax return with the Internal Revenue Service for any year during the

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Identify by name, address and telephone numbers, investment amounts, and dates of
investment for Blue Crates’ capital investors for the years 2015 to present.

ANSWER: Defendant objects to this interrogatory as overly broad, unduly
burdensome, and not reasonably tailored to relevant and admissible
evidence. Subject to the foregoing objections, see the produced
Capitalization Table for Blue Crates, LLC, attached as BC 016.

Interrogatory 14:

Identify any and all past and/or current business relationships between Blue Crates and
Elmdale Partners, including but not limited to Thomas Bretz and/or Elmdale Ventures.

ANSWER: Defendant objects to this interrogatory as overly broad, unduly
burdensome, and not reasonably tailored to relevant and admissible
evidence as the company and individual had no involvement with the
creation or publication or marketing materials.

nterr 15:

- Identify any and all past and/or current business relationships between Blue Crates and
PROJEKT 202, regardless of whether the Blue Crates entered into any formal business
relationship with PROJEKT 202.

ANSWER: Defendant objects to this interrogatory as overly broad, unduly
burdensome, and not reasonably tailored to relevant and admissible

evidence. Subject to the foregoing objections, Defendant does not have a
relationship with PROJEKT 202.

Interrogatory 16:

Identify the current members of Blue Crates’ board of directors for each year 2015 to
present, including each member's position(s) on the Board during each of those years.

ANSWER: _ Blue Crates’ does not have a board of directions. The company has a
Manager, Richfield Holdings, which is owned by Matthew and Michael
Walker.

Interrogatory 17:

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ERTIFICATE ER
I hereby certify that I served the foregoing discovery requests to the party(ies)
listed below via electronic mail on this 17th day of August, 2020.

Sharon K. Jackson, Attorney

1708 Sunset Boulevard, 2d Floor
Houston, Texas 77005

Telephone: 713/542-7491

Email: Sharon@JacksonAttorney.net
ATTORNEY FOR PLAINTIFF,
DOORAGE INC.

/s/ Katherine J. Curtis
Katherine J. Curtis

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VERIFICATION

Under penalties as provided by law pursuant to Section 1-109 of the Code of Civil
Procedure, the undersigned certifies that he is authorized by this defendant to act as its
agent and provide this verification, and further states that the statements set forth in this
instrument are true and correct, except as to matters therein stated to be on information
and belief and as to such matters the undersigned certifies as aforesaid that he verily
believes the same to be true. 735 ILCS 5/1-109.

 

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“By
Matthew Walker

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